Case 4:12-cr-00182-I\/|AC-DDB Document 1 Filed 08/01/12 Page 1 of 1 Page|D #: 1

UNITED STATES DISTRICT COURT 0 l z l G| l ]A l:

EASTERN DISTRICT OF TEXAS ~.i».

 

 

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V. CRIMINAL CoMPLAINi/f»; ~ 7 2012 TE)MS
’ CASE NUMBERU,AQQM.YM
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l, the undersigned complainant being duly sworn state the following is true and correct to the best of my
knowledge and belief. ln or about January 201 1, up until the present, in the Eastern District of Texas and elsewhere,
defendant Grant Nor'wood did knowingly and intentionally combine, conspire, confederate, and agree with other
persons known and unknown to the affiant, to possess with the intent to distribute 21 .4 grams of
Methylenedioxymethcathinone Hydrochloride, 28.0 grams of Methylenedioxymethcathinone Hydrochloride and
12..7 grams of Cocaine Hydrochloride,_in Violation of 21 U.S.C. § 846 and 21 U.S.C. § 84l(a)(l). Defendant was
also in possession of a firearm in furtherance of a drug trafficking crime, in violation of 18 U.S.C. § 924(c). l further
state thatI am a Special Agent of the Bureau of Alcohol, Tobacco, Firearms and EXplosives and that this complaint

is based on the following facts:

SEE ATTACHED AFFIDAVIT.

Continued on the attached sheet and made a part hereof. YeS. : /`h/{A,Zf %/{~ M

 

 

 

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mplainant
Sworn to before me, and subscribed in my presence
August l, 2012 Plano, Texas
at
Date City and State

DON D. BUSH

U. S. MAGISTR.ATE JU'.DGE '_T/\
O'\_NZ‘__\

Name and Title of Judicial Officer Signature of Judicial Offlcer

